Case: 3:14-cv-00612-wmc Document #: 32 Filed: 05/25/21 Page 1 of 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WISCONSIN

 

CLAUDIA D. STUMPNER and C.W. and RJ.W.,
MINORS, BY THEIR GUARDIAN AD LITEM,
ATTORNEY ROBERT G, DOWLING

Plaintiffs
and

WISCONSIN DEPT. OF HEALTH SERVICES,
WISCONSIN CASUALTY RECOVERY and UNITED
HEALTHCARE OF WISCONSIN, INC. CASE NO, 3:14-CV-00612-wmc

Subrogated Plaintiffs

CENTRAL REFRIGERATED SERVICE, INC.,
MICHAEL P, LAMBERT, RAMON G. CLARK,
RED ROCK RISK RETENTION GROUP, INC.,
DEF LIABILITY INSURANCE COMPANY,

Defendants

 

PROPOSED ORDER FOR DISCHARGE OF GUARDIAN AD LITEM

 

The court having reviewed the motion for discharge filed by Atty. Lauterbach, GAL in this
matter, IT IS ORDERED that:

1. Atty. Michael Lauterbach is discharged as guardian ad litem for C.W.

2. Attorney Lauterbach shall have no continuing duties or responsibilities in this matter.

Dated: Max aS, 20a]

BY THE COURT:

 

 
  

 

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